UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


OHR SOMA YACH/JOSEPH TANENBAUM
EDUCATIONAL CENTER,

                Plaintiff-Counterclaim Defendant,

                         v.                                  No . l 9-cv- 11 730 (PMH) (LMS)

 FARLEIGH INTERNATIONAL LIMITED,

                Defendant-Counterclaim Plain tiff.


                         DECLARATION OF MICHAEL MATLIN

       I, Michael Matlin, pursuant to 28 U.S .C. § 1746, declare:

       1.      I submit this Declaration in support of the assertion by Farleigh International

Limited ("Farleigh") of attorney-client and attorney work product privilege in respect of the

communications contained on a privilege log dated August 11 , 2020 (the "Privilege Log").

       2.      Nothing in this Declaration is intended to, or should be construed to, waive any

privilege in any matter whatsoever.

       3.      My name is Michael Matlin, although 1 am also known as Menachem Mendel

Matlin, which is my Hebrew name .

       4.      I live in Monsey, New York, where the Ohr Somayach/Joseph Tanenbaum

Educational Center ("Ohr Somayach") is located. I have known Eugene Shvidler for over thirty-

five years. Mr. Shvidler and I were both previously students at Ohr Somayach.

       5.      In or about 2005, Mr. Shvidler requested that I provide assistance in connection

with Farleigh' s agreement with OhT Somayach to provide Ohr Somayach with funds to construct
a facility on the Ohr Somayach campus to be used for the specific purpose of hosting

programming focused on kiruv (the "Restricted Gift"). I agreed to do so.

       6.      Since then, I have functioned as an agent of Farleigh in connection with the

Restricted Gift by serving as Farleigh's representative in the ways described below (among

others).

       7.      Prior to completion of construction of the Beit Shvidler Conference Center (the

"Beit Shvidler Center") in 2009, I communicated with representatives of Ohr Somayach about

the Restricted Gift. (See Exhibit A, at 1- 16, 20- 25 ; Exhibit B, at 1- 8.) 1 For example, I

communicated with representatives of Ohr Somayach about the status of the construction of the

Beit Shvidler Center. (See id.) More specifically, I was the point-person for Farleigh for

requesting and receiving updates from Ohr Somayach about the status of the construction of the

Be it Shvidler Center, including but not limited to (1) issues relating to the construction budget

for the Beit Shvidler Center, and (2) issues relating to the construction plans for the Beit Shvidler

Center. (See id.) I also received and evaluated requests from Ohr Somayach that Farleigh

contribute additional funds in connection with the construction of the Beit Shvidler Center when

the proposed costs exceeded the budget. (See Exh ibit A, at 8-9, 13- 14.) Based on my

interactions with Ohr Somayach personnel, I understood that they expected me to help with

obtaining approval for these additional expenditures from Farleigh, and I indeed did so.

       8.      Construction of the Beit Shvidler Center was completed in 2009, and it opened

that year. Thereafter, I continued to interact with Ohr Somayach on behalf of Farleigh. More

specifically, Mr. Shvidler, on behalf of Farleigh, asked me to help obtain information on (1) how



1
  Exhibit A comprises documents produced by Ohr Somayach, and is identical to the exhibit filed
at Dkt. 49-5. Exhibit B comprises documents produced by Farleigh, and is identical to the
exhibit filed at Dkt. 49-6.


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the Beit Shvidler Center was being utilized, and (2) the financial perf01mance of the Beit

Shvidler Center. I did so. In order to do so, I requested and received from Ohr Somayach

information concerning the above issues, among others. (See Exhibit A, at 17-19, 26-40;

Exhibit B, at 9- 36.)

        9.     In October 2019 , Percy Hayball, Farleigh ' s attorney, requested that I provide him,

in my capacity as an agent of Farleigh, with factual information outlining the potential dispute in

this action and Farleigh's specific concerns. In these discussions, I understood that Mr. Hayball

was acting in his capacity as legal counsel to Farleigh. I understood that Mr. Hayball was

providing legal advice to Farleigh, and that the purpose of our conversations was to facilitate his

providing legal advice to Farleigh in connection with a potential dispute regarding the Restricted

Gift. I further understood that Mr. Hayball needed to communicate with me to obtain relevant

factual information concerning the Beit Shvidler Center in order to provide legal advice to

Farleigh in connection with this matter, and potentially to communicate with Ohr Somayach

about the potential dispute.

        10.     The specific communications in which 1 participated with Mr. Hayball involved

( 1) at Mr. Hayball 's request, me providing Mr. Hayball with factual information outlining the

potential dispute in this action and Farleigh ' s specific concerns, to enable him to provide legal

advice to Farleigh and potentially to communicate with Plaintiff about the dispute (Privilege Log

Entry I); (2) emails involving Mr. Hayball and several U.S. counsel regarding how to potentially

proceed in connection with the dispute underlying this case (Privilege Log Entries 2-8, 30-38 ,

40- 44) ; (3) Mr. Hayball subsequently sending me drafts of a legal demand letter he proposed to

send to Plaintiff on behalf of Farleigh for my input (Privilege Log Entries 45- 50, 52- 53); and

(4) related communications with Mr. Hayball and Mr. Shvidler about the foregoing demand




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letter, Plaintiffs response to it, and subsequent correspondence to Plaintiffs counsel (Privilege

Log Entries 51 , 54-76).

        11.    Prior to litigation, on behalf of Farleigh, I reached out to representatives of

Plaintiff to discuss concerns regarding the Beit Shvidler Center. Subsequent to the filing of this

lawsuit, representatives of Plaintiff contacted me to discuss the parties' dispute.

        12.    I participated in all communications for which Farleigh invokes privilege in my

capacity as an agent of Farleigh for the purpose of providing factual infonnation and input to

Farleigh's counsel (regarding the subject matter of this litigation), to enable Farleigh's counsel to

provide legal advice to Farleigh and take appropriate action on behalf of Farleigh. Such

communications were intended to be kept confidential and, to my knowledge, have been kept

confidential since.

       I declare, pursuant to 28 U.S .C. § 1746, under penalty of perjury that the foregoing is true

and conect:

Dated: September 1, 2020
       Monsey, NY


                                                              Michael Matlin




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